

















IN THE COURT OF CRIMINAL APPEALS


OF TEXAS





NO. WR-69,863-02






MITCHELL WASH SHELBY, Relator


v.


HARRIS COUNTY DISTRICT CLERK, Respondent






ON APPLICATION FOR A WRIT OF MANDAMUS

CAUSE NO. 840639 IN THE 183rd JUDICIAL DISTRICT COURT

FROM HARRIS COUNTY



	

	Per curiam.

	O R D E R




	Relator has filed a motion for leave to file a writ of mandamus pursuant to the original
jurisdiction of this Court.  In it, he contends that he filed an application for a writ of habeas corpus
in the 183rd Judicial District Court of Harris County, that more than 35 days have elapsed, and that
the application has not yet been forwarded to this Court.  Relator also alleges that the trial court
entered an order designating issues, but that the order was untimely.  This Court has no record of the
date upon which the writ, if it was filed in Harris County, was served on the State.  Nor does this
Court have a record of an order designating issues entered in this case, or the date upon which such
an order was entered.

	 In these circumstances, additional facts are needed.  The respondent, the District Clerk of 
Harris County, is ordered to file a response, which may be made by: submitting the record on such
habeas corpus application; submitting a copy of a timely filed order which designates issues to be
investigated, see McCree v. Hampton, 824 S.W.2d 578 (Tex. Crim. App. 1992); stating that the
nature of the claims asserted in the application filed by Relator is such that the claims are not
cognizable under Tex. Code Crim. Proc. art 11.07, § 3; or stating that Relator has not filed an
application for habeas corpus in Harris County.  This application for leave to file a writ of mandamus
shall be held in abeyance until the respondent has submitted the appropriate response.  Such response
shall be submitted within 30 days of the date of this order.



Filed: October 28, 2009

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